  Case 22-33406-KLP        Doc 13     Filed 12/29/22 Entered 12/29/22 11:27:30            Desc
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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION

RE: Patrick E Timberlake XXX-XX-7296                                      Case No. 22-33406-KLP
    Stefanie Walker Timberlake XXX-XX-9389


                DIRECTIVE FOR VOLUNTARY PAYMENTS BY DEBTOR

   The Debtor(s) having filed a petition under Chapter 13, Title 11 U.S.C. or converted this case

from Chapter 7;

   IT IS DIRECTED;

   That commencing immediately and continuing on the 30th day of each and every month

thereafter until further Directive from the Trustee, the Debtor(s) shall pay to Carl M. Bates,

Trustee, and send to Chapter 13 Trustee, PO Box 1433, Memphis, TN 38101-1433, the sum

of $1,615.00 monthly. The payment should include the debtor's name and case number above.




   THIS DIRECTIVE IS ENTERED PURSUANT TO GENERAL ORDER NO. 04-1 OF THE

UNITED STATES BANKRUPTCY COURT.

Dated: December 29, 2022

                                                 /S/ Carl M. Bates
                                                 Carl M. Bates, Trustee
                                                 Eastern District of Virginia, Richmond Division


    The Trustee does hereby certify that a copy of this Directive was mailed to the Debtor and
electronically sent to Debtor’s counsel on the date above written.

                                                 /S/ Carl M. Bates
                                                 Carl M. Bates, Trustee
